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16

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                      OAKLAND DIVISION

20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
                      Plaintiffs,       )             PLAINTIFFS’ UNOPPOSED
22
                                        )             OMNIBUS ADMINISTRATIVE
23           v.                         )             MOTION TO SEAL
                                        )
24    NSO GROUP TECHNOLOGIES LIMITED )                Ctrm: 3
      and Q CYBER TECHNOLOGIES LIMITED, )             Judge: Hon. Phyllis J. Hamilton
25                                      )
                                        )
                      Defendants.       )
26                                                    Action Filed: October 29, 2019
                                        )
27                                      )

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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to the Court’s Order regarding Motions for Summary

 3   Judgment, Motion for Sanctions, and Discovery Letter Briefs (Dkt. No. 494 at 15), the Court’s Order

 4   regarding Pretrial Filing Deadlines (Dkt. No. 527 at 4), and Northern District of California Local

 5   Rules 7-11 and 79-5, Plaintiffs WhatsApp LLC (“WhatsApp”) and Meta Platforms, Inc. (together,

 6   “Plaintiffs”), by and through their counsel, respectfully submit this Unopposed Omnibus

 7   Administrative Motion for an order to maintain under seal certain exhibits and portions of certain

 8   exhibits filed in connection with the parties’ motions for summary judgment (collectively, the

 9   “Confidential Materials”),1 as set forth in the supporting declaration of Micah G. Block (the “Block

10   Declaration”) filed herewith. Plaintiffs have met and conferred with Defendants NSO Group

11   Technologies Limited and Q Cyber Technologies Limited pursuant to the Court’s Order (Dkt. No.

12   494 at 15), and this motion is unopposed. The parties take no position on each other’s sealing

13   requests.

14                                             BACKGROUND

15           Plaintiffs filed under seal their motion for partial summary judgment on September 27, 2024.

16   Dkt. Nos. 399, 400. Defendants filed under seal their opposition to Plaintiffs’ motion on October 11,

17   2024. Dkt. No. 419. Plaintiffs filed under seal their reply brief in support of their motion on October

18   18, 2024 . Dkt. No. 436. Following the same schedule, Defendants filed under seal their motion for

19   summary judgment on September 27, 2024. Dkt. No. 396-2. Plaintiffs filed under seal their

20   opposition to Defendants’ motion on October 11, 2024. Dkt Nos. 418, 420. Defendants filed under

21   seal their reply brief in support of their motion on October 18, 2024. Dkt. No. 433.

22           Concurrently, Plaintiffs filed under seal a motion for sanctions on October 2, 2024.

23   Dkt. No. 405. On October 16, 2024, Defendants filed under seal an opposition to Plaintiffs’ motion.

24   Dkt. No. 429. Plaintiffs filed under seal a reply brief in support of their motion on October 23, 2024.

25   Dkt. No. 443.

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27   1
      Plaintiffs do not seek to maintain under seal any documents filed in connection with the briefing
     of Plaintiffs’ motion for sanctions.
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 1           The parties’ motions for summary judgment and Plaintiffs’ motion for sanctions were heard

 2   on November 7, 2024, at which time the Court directed the parties to file on the public docket

 3   unredacted versions of the summary judgment briefs and versions of the sanctions briefs with limited

 4   redactions. Dkt. No. 464 at 5-6, 94. The parties completed these filings on November 14, 2024.

 5   Dkt. Nos. 465-473, 475.

 6           On December 20, 2024, the Court granted Plaintiffs’ motion for partial summary judgment,

 7   denied Defendants’ motion for summary judgment, and partially granted Plaintiffs’ motion for

 8   sanctions. Dkt. No. 494. In that Order, the Court directed the parties to meet and confer with the

 9   purpose of filing omnibus sealing motions covering all material sought to be sealed in the

10   accompanying exhibits and declarations to the summary judgment and sanctions motions. Id. at 15.

11   On January 14, 2025, the Court extended the original briefing schedule for the omnibus sealing

12   motions and any oppositions to the sealing motions by one week to January 24 and January 31, 2025,

13   respectively. Dkt. No. 527. The parties met and conferred by phone and email, including by phone

14   on January 21, 2025. Block Decl. ¶ 3. The parties were able to agree that neither party opposes the

15   other party’s sealing requests made in connection with this omnibus sealing briefing. Plaintiffs

16   submit this motion, and the accompanying Block Declaration, in accordance with the Court’s orders.

17           Plaintiffs do not seek to maintain under seal any exhibits filed in connection with Plaintiffs’

18   motion for sanctions. This motion only requests that the Court maintain under seal Confidential

19   Materials that implicate Plaintiffs’ confidentiality interest and that Plaintiffs filed in connection with

20   the parties’ summary judgment briefing. 2

21                                                ARGUMENT

22           The appropriate standard for sealing on a motion for summary judgment is “compelling

23   reasons.” Am. Auto. Ass’n of N. California, Nevada & Utah v. Gen. Motors LLC, 2019 WL 1206748,

24
     2
       Pursuant to the Stipulated Protective Order (Dkt. No. 132), Plaintiffs have also filed certain mate-
25
     rial under seal in respect of Defendants’ assertions of confidentiality interests. This motion does
26   not address materials as to which only Defendants assert confidentiality interests. Accordingly, it
     does not address any of the materials that Plaintiffs filed under seal in connection with their motion
27   for sanctions, and it addresses only a minority of the materials that Plaintiffs filed under seal in re-
     lation to the parties’ summary judgment motions.
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 1   at *2 (N.D. Cal. Mar. 14, 2019). “The Ninth Circuit has found that compelling reasons exist to keep

 2   personal information confidential to protect an individual’s privacy interest and to prevent exposure

 3   to harm or identity theft.” Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267, at *1

 4   (N.D. Cal. Nov. 1, 2007) (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1134 (9th

 5   Cir. 2003))). Courts in this Circuit have also found that compelling reasons exist to seal “confidential

 6   business information” and information regarding “internal decisionmaking processes.” Jones v. PGA

 7   Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023)

 8            Plaintiffs submit that compelling reasons exist to seal four categories of information contained

 9   in the Confidential Materials: (1) identifying information of Plaintiffs’ non-testifying employees;

10   (2) individual compensation information of Plaintiffs’ employees; (3) identifying information of

11   certain non-party WhatsApp users and other non-parties; and (4) Plaintiffs’ sensitive business

12   information. The proposed sealing is narrowly tailored and seeks only to protect those portions of

13   the documents that contain such sensitive and confidential information, or entire exhibits in which

14   any non-confidential information is de minimis.

15   I.       Identifying Information of Plaintiffs’ Non-Testifying Employees

16            Certain Confidential Materials contain the names, email addresses, and/or phone numbers of

17   certain of Plaintiffs’ non-testifying employees whose identities are not pertinent to any issue, claim,

18   or defense in this action. See Block Decl. ¶ 6. “[R]edaction of [their] identifying information is

19   particularly appropriate here, because the public’s interest in the name of [an employee] is likely

20   insignificant, as the exact name is irrelevant to the legal issues in this case.” O’Connor v. Uber

21   Techs., Inc., 2015 WL 355496, at *2 (N.D. Cal. Jan. 27, 2015); see also Ehret v. Uber Techs., Inc.,

22   2015 WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015) (“While the . . . employees are employed by a

23   party in this case and have a lower privacy interest, their specific e-mail addresses are not relevant to

24   the merits of the motion of this case.”).

25            In addition, the public disclosure of Plaintiffs’ employees’ names in connection with litigation

26   has sometimes been followed by harassment, online threats, and/or suspicious phone calls, text-

27   messages or emails, particularly in cases with significant media attention. Block Decl. ¶ 5. There is

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 1   little, if any, public interest in the identities of the non-testifying employees here, so the private

 2   interests justify sealing.

 3   II.     Individual Compensation Information of Plaintiffs’ Employees

 4           Certain Confidential Materials include the details of the individual compensation of

 5   Plaintiffs’ employees. See Block Decl. ¶ 6. This is sensitive, personal information that is not

 6   available to the public, nor are the details pertinent to the issues raised in the motions for summary

 7   judgment. See Ehret, 2015 WL 12977024, at *2 (holding that names and individual earnings may be

 8   redacted under both the good cause and compelling reasons standard as the information “concerns

 9   privacy interests”). The release of this information could harm the privacy interests of the listed

10   individuals.

11   III.    Identifying Information of Certain Non-Party WhatsApp Users

12           Certain Confidential Materials include the phone numbers, IP addresses, and other identifiers

13   associated with certain non-party WhatsApp users or other non-parties. See Block Decl. ¶ 6. This is

14   confidential, personally identifying information that is not available to the public. See Am. Auto,

15   2019 WL 1206748, at *2 (granting motion to seal individual names, addresses, phone numbers, and

16   email addresses); Activision Publ’g, Inc. v. Engine Owning UG, 2023 WL 2347134, at *1 (C.D. Cal.

17   Feb. 27, 2023) (finding compelling reasons “to seal the various parties’ customers’ personal

18   information, which includes . . . IP addresses, email addresses, and/or customer activities on certain

19   platforms, in order to protect the customers’ privacy.”). The release of this information could harm

20   the privacy interests of the identified individuals.

21   IV.     Plaintiffs’ Sensitive Business Information

22           Plaintiffs seek to maintain under seal five documents containing Plaintiffs’ sensitive business

23   information. See Block Decl. ¶ 6. One of these documents includes information regarding Plaintiffs’

24   internal decision-making processes around WhatsApp’s business strategies that is not relevant to any

25   of the issues in this case. See Dkt. No. 396-5, Ex. R. This document is cited only by Defendants in

26   their summary judgment brief, and Defendants reference only four paragraphs of the 40-page

27   document. See Dkt. No. 396-2 at 19. Defendants cite these documents for their arguments regarding

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 1   “nation states” use of their products, which proposition does not relate to the sensitive business

 2   information therein that Plaintiffs seek to maintain in confidence. Even as to the portions Defendants

 3   cite, sealing is warranted because the content reflects internal decision making regarding WhatsApp’s

 4   internal security measures, and Plaintiffs could suffer unnecessary commercial harm if it were

 5   released publicly. The other four documents are Plaintiffs’ internal documents reflecting sensitive

 6   and confidential internal security operations and procedures. See Dkt. No. 396-5, Exs. S-V. These

 7   documents are also cited only in Defendants’ summary judgment motion. See Dkt. No. 396-2 at 19,

 8   n.15. Defendants reference them for their argument that foreign government use their products,

 9   which proposition is unrelated to Plaintiffs’ confidential operations and procedures that public filing

10   would reveal.

11          Courts have routinely held that confidential business information satisfies the compelling

12   reasons standard. Jones, 2023 WL 7440303, at *2 (granting plaintiff’s renewed sealing motion with

13   respect to information including “confidential business information” and “internal decisionmaking

14   processes”); see also In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 2015 WL

15   13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting sealing records where the records were “subject

16   to a contractual duty of confidentiality” and where “harm could result to [the parties’] business

17   operations” if the information were prematurely disclosed); In re Qualcomm Litig., 2017 WL

18   5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established compelling reasons

19   to seal records that implicate “confidential business information” subject to confidentiality

20   agreements). Publicly disclosing these materials could risk harm to Plaintiffs’ business and provide

21   competitors an unfair advantage by allowing access to internal business deliberations. This harm

22   could not be mitigated by any means less restrictive than sealing.

23                                             CONCLUSION

24          For the foregoing reasons, Plaintiffs respectfully submit that the Court grant this motion and

25   maintain under seal the Confidential Materials.

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 1    Dated: January 24, 2025                     Respectfully Submitted,

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